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                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER ADOPTING ADDITIONAL
                                                                         10   This Order Relates To:                  )   REPORTS AND RECOMMENDATIONS
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
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                                                                         14         The Court has reviewed several Reports and Recommendations by
                                                                         15   Special Master Vaughn R. Walker, United States District Judge
                                                                         16   (Ret.) addressing the parties' discovery issues.           No objections
                                                                         17   have been filed, and the Court finds the reports uniformly correct,
                                                                         18   well-reasoned, and thorough.      Accordingly, the Court ADOPTS in full
                                                                         19   the following reports and recommendations:
                                                                         20
                                                                         21     1. ECF No. 3365 regarding Thomson's motion to compel discovery
                                                                         22         from DAPs;
                                                                         23     2. ECF No. 3960 regarding Direct Action Plaintiffs' motions to
                                                                         24         compel Samsung SDI, Hitachi, and Panasonic to authenticate
                                                                         25         documents (except as modified by the Order of the Court dated
                                                                         26         September 9, 2015, ECF No. 4042, applicable only to the Direct
                                                                         27         Action Plaintiffs and the Hitachi Defendants);
                                                                         28   ///
                                                                              Case 3:07-cv-05944-JST Document 4152 Filed 10/28/15 Page 2 of 2




                                                                          1   3. ECF No. 4066 regarding Defendants' Motion to Compel ViewSonic
                                                                          2      Percipient Witness Depositions;
                                                                          3   4. ECF No. 4095 regarding an order on remand from the Court of
                                                                          4      certain DAP's motion to compel a Thomson Rule 30(b)(6)
                                                                          5      deposition; and
                                                                          6   5. ECF No. 4117 regarding Thomson's Motion to Reinstate ECF No.
                                                                          7      3914 re: Sears' Private Label Discovery.
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                                                                          9      IT IS SO ORDERED.
                                                                         10
                               For the Northern District of California
United States District Court




                                                                         11      Dated: October 28, 2015
                                                                         12                                     UNITED STATES DISTRICT JUDGE
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